      Case: 1:12-cv-05933 Document #: 1 Filed: 07/27/12 Page 1 of 5 PageID #:1




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CHRISTOPHER E. BROWN,                        )
an individual,                               )
                                             )       CASE NO.:
             Plaintiff,                      )
vs.                                          )
                                             )
BRIXMOR SPE 1, LLC,                          )
a Delaware Limited Liability Company,        )
                                             )
             Defendant.                      )
                                             /

                                        COMPLAINT

      Plaintiff, CHRISTOPHER E. BROWN, through his undersigned counsel, hereby files this

Complaint and sues BRIXMOR SPE 1, LLC a Delaware Limited Liability Company, for injunctive

relief, attorneys’ fees and costs pursuant to 42 U.S.C. § 12181 et seq., (“AMERICANS WITH

DISABILITIES ACT” or “ADA”) and alleges:

                              JURISDICTION AND PARTIES

1.    This is an action for declaratory and injunctive relief pursuant to Title III of the Americans

      With Disabilities Act, 42 U.S.C. § 12181, et seq., (hereinafter referred to as the “ADA”).

      This Court is vested with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

2.    Venue is proper in this Court pursuant to 28 U.S.C. §1391(b).

3.    Plaintiff, CHRISTOPHER E. BROWN, (hereinafter referred to as “MR. BROWN”), is a

      resident of the State of New York.

4.    Plaintiff, MR. BROWN is a qualified individual with a disability under the ADA. MR.

      BROWN suffers from Arthrogryposis, which causes him to be confined to a wheelchair. The


                                                 1
      Case: 1:12-cv-05933 Document #: 1 Filed: 07/27/12 Page 2 of 5 PageID #:2




      condition also causes atrophy in his arms, hands, shoulders, and elbows, which makes it

      extremely difficult for him to reach for, grip, and manipulate objects.

.5.   Due to his disability, Plaintiff MR. BROWN is substantially impaired in several major life

      activities and requires a wheelchair for mobility.

6.    Defendant, BRIXMOR SPE 1, LLC, a Delaware Limited Liability Company, (hereinafter

      referred to as “BRIXMOR”), is registered to do business in the State of Illinois. Upon

      information and belief, BRIXMOR is the owner and/or operator of the real property and

      improvements which are the subject of this action, to wit: the Property, known as Commons

      of Chicago Ridge, generally located at 300 Commons Drive, Chicago Ridge, Illinois 60415.

7.    All events giving rise to this lawsuit occurred in the Northern District of Illinois, Cook

      County.

                       COUNT I - VIOLATION OF TITLE III OF THE
                         AMERICANS WITH DISABILITIES ACT

8.    Plaintiff realleges and reavers Paragraphs 1-7 as if they were expressly restated herein.

9.    The Property is a shopping center and is open to the public and provides goods and services

      to the public.

10.   Plaintiff MR. BROWN visited the Property, generally located at 300 Commons Drive,

      Chicago Ridge, Illinois 60415, and attempted to utilize the goods and services offered at the

      Property.

11.   While at the Property, MR. BROWN experienced serious difficulty accessing the goods and

      utilizing the services therein due to the architectural barriers discussed herein in paragraph

      14 of this Complaint.



                                                2
      Case: 1:12-cv-05933 Document #: 1 Filed: 07/27/12 Page 3 of 5 PageID #:3




12.   MR. BROWN continues to desire to visit the Property, but fears that he will again encounter

      serious difficulty due to the barriers discussed in paragraph 14 which still exist.

13.   MR. BROWN plans to and will visit the Property in the near future to utilize the goods and

      services offered thereon.

14.   Defendant, is in violation of 42 U.S.C. § 12181 et seq. and 28 C.F.R. § 36.302 et seq. and

      is discriminating against the Plaintiff due to Defendant’s failure to provide and/or correct,

      inter alia, the following barriers to access which were personally observed and encountered

      by Plaintiff:

              A.      inaccessible parking due to excessive slopes throughout the Property;

              B.      inaccessible curb cuts from the parking to the sidewalks throughout the

                      Property due to failure to provide smooth transition and excessive slopes and

                      side flares;

              C.      inaccessible sidewalks throughout the Property due to excessive cross slopes;

              D.      inaccessible routes throughout the Property due to failure to connect all areas

                      of the Property; and

              E.      inaccessible entrances to several stores and/or restaurants throughout the

                      Property due to failure to provide an accessible route from disabled use

                      parking to the store and/or restaurant entrances.

15.   Defendant either does not have a policy to assist people with disabilities or refuses to enforce

      such a policy if it does exist.

16.   Independent of his intent to return as a patron to the Property, Plaintiff additionally intends

      to return to the Property as an ADA tester to determine whether the barriers to access


                                                 3
      Case: 1:12-cv-05933 Document #: 1 Filed: 07/27/12 Page 4 of 5 PageID #:4




       discussed herein have been remedied.

17.    Removal of the barriers to access located on the Property is readily achievable, reasonably

       feasible and easily accomplishable without placing an undue burden on Defendant.

18.    Removal of the barriers to access located on the Property would allow Plaintiff to fully

       utilize the goods and services located therein.

19.    The Plaintiff has been obligated to retain undersigned counsel for the filing and prosecution

       of this action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs, and expenses

       paid by Defendant.

       WHEREFORE, the Plaintiff demands judgment against BRIXMOR, and requests the

following injunctive and declaratory relief:

       A.      That the Court declares that the Property owned and operated by

               BRIXMOR is in violation of the ADA;

       B.      That the Court enter an Order directing BRIXMOR to alter its facility

               to make it accessible and usable by individuals with disabilities to the

               full extent required by Title III of the ADA;

       C.      That the Court enter an Order directing BRIXMOR to evaluate and

               neutralize its policies and procedures towards persons with

               disabilities for such reasonable time so as to allow BRIXMOR to

               undertake and complete corrective procedures;

       D.      That the Court award reasonable attorneys’ fees, costs (including

               expert fees), and other expenses of suit, to the Plaintiff; and




                                                  4
Case: 1:12-cv-05933 Document #: 1 Filed: 07/27/12 Page 5 of 5 PageID #:5




E.     That the Court award such other and further relief as it deems

       necessary, just and proper.

                             Respectfully Submitted,

                             KU & MUSSMAN, P.A.
                             Attorneys for Plaintiff
                             12550 Biscayne Blvd., Suite 406
                             Miami, Florida 33181
                             Tel: (305) 891-1322
                             Fax: (305) 891-4512


                              By:    /s/ Michael P. Kelley
                                     KU & MUSSMAN, P.A.
                                     Attorney for Plaintiff
                                     Michael P. Kelley, Esq. #6289903
                                     Kelley Law, LLC
                                     Of Counsel
                                     2333 N. Harlem Ave.
                                     Chicago, IL 60707
                                     Tel: 773-637-9200
                                     Fax: 773-637-4229
                                     Email: mike@michaelkelleylaw.com




                                       5
